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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1029V
                                      Filed: April 25, 2017
                                         UNPUBLISHED

****************************
DANIEL MCNEAL,                         *
                                       *
                   Petitioner,         *       Ruling on Entitlement; Concession;
v.                                     *       Influenza (“Flu”) Vaccine; Shoulder
                                       *       Injury Related to Vaccine Administration
SECRETARY OF HEALTH                    *       (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                    *       (“SPU”)
                                       *
                   Respondent.         *
                                       *
****************************
Leah V. Durant, Law Offices, Washington, DC, for petitioner.
Robert P. Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On August 19, 2016, Daniel McNeal (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that he suffered from a left
shoulder injury as a result of receiving an influenza (“flu”) vaccine on November 3, 2015.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

       On April 25, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent states “petitioner’s alleged injury is consistent with a
shoulder injury related to vaccine administration (‘SIRVA’).” Id. at 3. Respondent
further agrees that that no other causes for petitioner’s SIRVA were identified and that
the statutory six month sequela requirement has been satisfied. Id.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Nora Beth Dorsey
                              Nora Beth Dorsey
                              Chief Special Master




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